Case 1:05-cr-10007-.]DT Document 23 Filed 08/29/05 Page 1 of 2 Page|D 24

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
UNITED STATES OF AMERICA
vs CR NO. 1:05-10007-0] -T
ERIC ELMO PETERSON
ORDER REVOKING BOND

 

This cause came on to be heard on August 29, 2005, Assistant U. S. Attorney,
J ames W. Powe]l, appearing for the government and M. Dianne Smothers, Who was appointed
as counsel for the defendant

The defendant failed to appear for the scheduled report date, this court issued a warrant
for his arrest. lt is therefore ORDERED that the defendant’s bond be and hereby is revoked

The defendant Will be held in custody pending trial of this matter

IT IS SO ORDERED.

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D. TODD
UNI D STATES DISTRICT JUDGE

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ENNESSEE

 

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Honorable .l ames Todd
US DlSTRlCT COURT

